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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

IN RE: VALSARTAN N-
NITROSODIMETHYLAMINE (NDMA)
CONTAMINATION PRODUCTS
LIABILITY LITIGATION

HON. ROBERT B. KUGLER

Civil No. 19-2875 (RBK/JS)

 

MDL CASE MANAGEMENT ORDER NO. 1

IT IS ON THIS 25th day of February, 2019, upon consideration
of the Order of the Judicial Panel on Multidistrict Litigation
transferring federal cases to this Court, and the entry of this

Order being necessary for efficiency of these cases, ORDERED:

1, INITIAL CONFERENCE. The Court will hold the Initial
Conference in Courtroom 4D of the Mitchell H. Cohen United States
Courthouse, 1 John F. Gerry Plaza, Camden, N.J. 08101 on March 27,
2019 at 2:00 p.m. All plaintiffs’ counsel shall meet in Courtroom
4D on this date at 9:30 a.m. to prepare for the conference. All
defense counsel shall meet in Courtroom 3C at 9:30 a.m. to prepare
for the conference. The parties shall jointly meet in Courtroom 4D

at 11:00 p.m.

2. APPLICABILITY. This and all subsequent Orders shall
govern the practice and procedure in all actions transferred to

this Court by the Judicial Panel on Multidistrict Litigation
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pursuant
transfer
transfer

Litigati

4, RESPONSIBILITY OF COUNSEL. Counsel are expected to
familiarize themselves with the Manual for Complex Litigation and
the Local Rules of Civil Procedure for the District of New Jersey
and be prepared to discuss at the conference procedures to
facilitate the expeditious, economical and just resolution of this

litigation.

5. APPEARANCES AT CONFERENCE. One attorney representing

 

each party shall appear at the Initial Conference. Parties with
similar interests may agree to have an attending attorney represent
their interest at the conference. Any party appearing through a
Gesignated attorney shall notify the court in writing in advance

of the conference. By designating an attorney to represent its

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interest, the party will not be precluded from other representation
during the litigation, nor will attendance at the conference waive

any objections to jurisdiction, venue, or service of process.

6. LIAISON COUNSEL. The Court will select liaison counsel
at the conference. Counsel for plaintiffs are directed to confer
with each other in advance of the conference for the purpose of
agreeing on proposed liaison counsel to submit to the Court for
approval. Likewise, counsel for defendants shall confer and
propose liaison counsel for approval by the Court. The Court
expects to hear from the parties as to whether separate liaison
counsel should be appointed for different groups of plaintiffs and
defendants.

Liaison counsel will perform administrative functions.
They will receive orders and notices from the court and the
Judicial Panel on Multidistrict Litigation on behalf of all parties
within their group and be responsible for the transmittal of the
orders and notices to their group. They shall maintain complete
files (papers and/or electronic) with copies of all documents
served on them and to make such files available to parties within
their group upon request. The expenses incurred in performing the
services of liaison counsel shall be shared equally by all members
of the liaison group in a manner agreeable to the parties or

established by the Court failing such agreement. At the Initial
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Conference the parties shall be prepared to discuss any additional
matters consistent with this function, including any need for a
Steering and/or Executive Committee for plaintiffs and/or

defendants.

7. POSITION STATEMENT. Counsel for each side or liaison
group shall confer and submit to the Court on or before March 20,
2019, a brief written statement (not to exceed 10 pages) of the
parties’ preliminary understanding of the facts involved in these
cases and the important factual and legal issues. These statements
shall be submitted directly to chambers, ex parte, and are not to
be filed with the Clerk. The statements are not binding, may not
be offered into evidence for any purpose, and do not waive any
claims or defenses. These statements shall also list all pending
motions.

Counsel shall also submit a separate list of all related
cases pending in any court, state or federal, together with the
caption, court, docket number, names of counsel, and the current
status, including any discovery taken to date, to the extent known.
The parties shall submit one such statement for all proposed
liaison groups.

8. STAY OF PENDING MOTIONS. All motions pending in all
cases assigned to undersigned are stayed and will be discussed at

the initial conference.
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9. PRO HAC VICE ADMISSION. Any attorney admitted to
practice and in good standing in any United States District Court
is admitted pro hac vice in this Court for this matter. Such
counsel are subject to the New Jersey Rules of Professional
Conduct, the Guidelines for Litigation Conduct, L. Civ. R.
103.1(c), and the disciplinary jurisdiction of this Court.

Association with local counsel is not required.

10. FILING. All documents shall be filed
electronically with the Clerk of this Court and not the transferor
court. Counsel shall register electronic filers in the District of
New Jersey. The Clerk shall maintain a master docket case captioned

In re: Valsartan N-Nitrosodimethylamine (NDMA) Contamination

 

Products Liability Litigation, D.N.J. Civil Action No. 19-2875

 

(RBK/JS). When a document is intended to be applicable to all
actions, the caption shall state “This Document Relates to All
Actions.” When a document is intended to apply to fewer than all
cases, the Court’s civil action number for each individual case to
which the document relates shall appear immediately after the words
“This Document Relates to... .” All pleadings, motions, or other
filings that apply to individual cases must be cross-~filed,
electronically, through ECF to the master docket and the individual

civil action docket.
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11. SERVICE OF THIS ORDER. A copy of this Order will
be served by ECF on all counsel listed on the docket. In order to
assure all interested counsel are served, Ruben Honik, Esquire
shall assure that all interested plaintiffs’ counsel are served
with this Order. Seth A. Goldberg, Esquire shall assure that all

interested defense counsel are served.

12. PRESERVATION. All parties and their counsel are
reminded of their duty to take reasonable measures to preserve
documents and electronically stored information and data that are

potentially relevant.

13. AGENDA. The Court will discuss with counsel at
least the following topics at the Initial Conference:

a. Appointment of liaison counsel and Steering and/or
Executive Committees;

b. Need for liaison groups(?);
c. Status of any related State proceedings;

d. Pleadings - possible Consolidated Master Amended
Complaint(s) and response;

* Short Form Complaint and response;
e. Direct Filing;
f. Tolling Agreements;
g. Acceptance of service of complaints;

e Streamlined service of process
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h. Summary of disclosures and discovery already
undertaken in these cases and how such discovery
shall be served;

i. Creation and maintenance of documents/data storage
repository;

4. Status of any pending dispositive or non-dispositive
motions;

k. FGurisdictional issues (if any);

1. Any current or contemplated settlement discussions
and the Court’s role;

m. Timing and procedure for Rule 12 motions;

n. Timing and procedure for Rule 26(a) (1) initial
disclosures;

0. Scope and timing of discovery. Should there be any
limitations on interrogatories, document requests,

or depositions?

p. Confidentiality Order (consult Local Civil Rule 5.3
and Appendix 5);

q. Anticipated discovery issues as to foreign
defendants;

e Translation of documents/ESI

r. Need for different litigation tracks?

s. Whether a “tutorial” is needed or necessary in this
MDL;

t. Court website;
u. Common Benefit Fund and Order;

e Reporting requirements

vy. Bellwether trials
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w. Any other measures necessary to promote the prompt,
efficient and just management of the case;

x. Future status conferences.

Counsel shall confer and collaborate in making written
submissions to the Court on or before March 20, 2019 on the above
topics. To the extent feasible a joint submission shall be made.
Otherwise, separate submissions shall be made by each liaison
group. Case management proposals should concisely state reasons
for the suggestions. These submissions should be electronically
filed and served on counsel. If counsel to be served are not yet
registered for ECF, service by mail or fax is required. Written
replies are not required as all attendees will have the opportunity

to speak at the Initial Conference.

Ve, JC e-—

ROBERT B. KUGLER ~
United States District Judge

 
